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                 IN THE UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 IN RE:                                    §
                                           §   Bankruptcy No. 25-30155
 ALLIANCE FARM AND RANCH, LLC, and         §   Chapter 11
 ALLIANCE ENERGY PARTNERS, LLC,            §   (Jointly Administered)
                                           §
                       Debtors.            §
                                           §
                                           §
 DUSTIN ETTERS,                            §
                                           §
                       Plaintiff.          §   Adversary No. 25-03382
 v.                                        §
                                           §
 JEROD P. FURR, ET AL,                     §
                                           §
                         Defendants,       §

                 TRUSTEE’S EMERGENCY MOTION FOR ORDER
      (I) CONTINUING RULE 16 CONFERENCE, (II) ABATING ALL DEADLINES
            REGARDING SAME AND (III) GRANTING RELATED RELIEF

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
ATTEND THE HEARING.
EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

THERE WILL BE AN EMERGENCY HEARING ON THIS MOTION ON JULY 7, 2025
AT 4:00 P.M. BY AUDIO AND VIDEO CONNECTION. YOU MAY ACCESS THE
FACILITY BY DIAL-IN TELEPHONE NO: 832-917-1510 AND ENTERING THE
CONFERENCE CODE 282694. VIDEO PARTICIPATION WILL BE BY GOTOMEETING
VIDEO LINK: HTTPS://MEET.GOTO.COM/JUDGEPEREZ.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.
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TO THE HONORABLE ALFREDO R. PEREZ, UNITED STATES BANKRUPTCY JUDGE:

       Tom A. Howley (“Howley”), in his capacity as the chapter 11 trustee (the “Trustee”) in

the above-numbered and styled bankruptcy proceedings (the “Chapter 11 Cases”), hereby files

this emergency motion (the “Motion”) in above-referenced adversary proceeding (“Adversary

Proceeding”) for entry of an order, substantially in the form attached hereto (the “Proposed

Order”), (a) continuing the Rule 16 conference for at least thirty (30) days, and (b) abating all

deadlines and discovery related to same and in support hereof, respectfully states as follows:

                                      RELIEF REQESTED

       1.       The Trustee seeks entry of an order, substantially in the form attached hereto (the

“Abatement Order”), granting the following relief:

             a. Continuing the Rule 16 conference on July 23, 2025 for at least thirty (30) days;

             b. Abating all deadlines and discovery related to this Adversary; and

             c. Any related relief.

                                 JURISDICTION AND VENUE

       2.       The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this Court under 28

U.S.C. §§ 1408 and 1409.

       3.       The statutory predicates for the relief requested in this Motion are sections 105(a),

and 105(d) of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”),

Rule 7016 of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”), and Rule

7016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local

Rules”).




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                                        BACKGROUND

       Main Bankruptcy Cases

       4.      On January 7, 2025 (the “AFR Petition Date”), the Alliance Farm and Ranch, LLC

(the “AFR Debtor”) commenced its bankruptcy case (the “AFR Case”) under chapter 7 of title

11 of the Bankruptcy Code. On March 17, 2025, the AFR Debtor filed its Emergency Motion to

Convert Case to Chapter 11 (the “Chapter 11 Conversion Motion”). [DE 13]. On March 19,

2025, the Court entered its order granting the Chapter 11 Conversion Motion. [DE 24].

       5.      On April 7, 2025 (the “AEP Petition Date”), the Alliance Energy Partners, LLC

(the “AEP Debtor” and together with the AFR Debtor, the “Debtors”) commenced its bankruptcy

case (the “AEP Case” and together with the AFR Case, the “Chapter 11 Cases”).

       6.      On May 7, 2025, the United States Trustee filed its Notice of Chapter 11

Bankruptcy Case (the “Notice of Bankruptcy Case”) [DE 73]. The Notice of Bankruptcy Case set

the meeting of creditors (the “341 Meeting”) for June 2, 2025, at 2:00 p.m. The 341 Meeting was

subsequently rescheduled for June 16, 2025, at 1:00 p.m. The 341 Meeting was commenced and

continued until June 25, 2025 at 1:00 p.m. The Notice of Bankruptcy Case established the deadline

for a governmental unit to file a proof of claim as November 3, 2025. The Notice of Bankruptcy

Case did not establish a deadline for filing general proofs of claim.

       7.      On May 12, 2025, the United States Trustee filed its Notice of Appoint of Committee

of Unsecured Creditors [DE 77] appointing an official committee of unsecured creditors of the

Debtors (the “Committee”).

       8.      On May 22, 2025, the Committee filed its Emergency Motion for Appointment of

Chapter 11 Trustee (the “Trustee Motion”) [DE 98]. On May 23, 2025, the Court entered its order

granting the Trustee Motion [DE 112]. On May 27, 20025, the United States Trustee filed its



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Emergency Motion to Approve Appointment of Tom A. Howley as Chapter 11 Trustee [DE 115]

On May 27, 2025, the Court entered its Order Approving Appointment of Tom A. Howley as

Chapter 11 Trustee [DE 117].

       9.       On May 30, 2025, the Trustee filed his Emergency Motion for Order Approving (I)

Global Settlement Between Debtors and Erik and Darla Ostrander and (II) Granting Related

Relief (the “Settlement Motion”) [DE 121]. The Settlement Motion sought approval of a

settlement resolving the Debtors’ litigation claims against Erik and Darla Ostrander and bringing

in $1.5 million to the AFR estate. On June 3, 2025, the court entered its order approving the

Settlement Motion (the “Settlement Order”) [DE 128]. The settlement has been consummated

and the $1.5 million has been deposited in the Trustee’s fiduciary account.

       Adversary 25-03382

       10.      On July 29, 2024, Dustin Etter (“Plaintiff” or “Etter”) filed its Original Petition in

the 457th District Court of Montgomery County, Texas (“State Court Lawsuit”). Plaintiff’s

current live pleading is Plaintiff’s Eighth Amended Petition.

       11.      On May 20, 2025, Plaintiff filed its Notice of Removal regarding the State Court

Lawsuit initiating the Adversary.

       12.      On June 2, 2025, this Court entered its Order Setting Rule 7016 Conference,

Requiring Rule 7026 Meeting, Establishing Procedures for Discovery Disputes, and Emphasizing

Applicability of Certain Federal Rules of Civil Procedure as made Applicable by the Federal Rules

of Bankruptcy Procedure (“Rule 16 Conference Order”). Pursuant to the Rule 16 Conference

Order, the Court set a conference pursuant to Rule 16 of the Federal Rules of Civil Procedure as

applied by Bankruptcy Rule 7016 for July 23, 2025 at 11:00 a.m. Central Time (“Rule 16

Conference”).



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       13.     On June 13, 2025, Plaintiff filed its Emergency Motion for Limited Expedited

Discovery (“Limited Discovery Motion”).

       14.     On June 16, 2025, Jerod Furr (“Defendant” or “Furr”) filed its Objection to the

Limited Discovery Motion.

       15.     Although at the time of filing the Limited Discovery Motion the Trustee was still

considering his position, the Trustee opposes the Limited Discovery Motion.

       16.     This Court set the Limited Discovery Motion for hearing on July 7, 2025 at 4:00

p.m. Central Time (“Hearing”).

                              BASIS FOR RELIEF REQUESTED

       17.     The Trustee requests that the Court continue the Rule 16 Conference for at least

thirty (30) days and abate all deadlines and discovery in this Adversary. As demonstrated by the

Background section above, the Trustee has been acting diligently addressing numerous issues that

require emergency consideration including immediate administrative requirements. The Trustee

needs sufficient time to assess various issues including, but not limited to, (i) the positions and

claims asserted in the Adversary; (ii) an appropriate discovery schedule; (iii) settlement

possibilities and/or issues that can be resolved/narrowed in the Adversary; (iv) positions by other

creditors including the Committee; and (v) the possible need for the Trustee to hire special

litigation counsel in the Adversary.

       18.     Counsel for the UCC supports the relief requested in this Motion. Counsel for Furr

does not oppose the relief requested in the Motion.

       19.     Counsel for Etter has filed the Limited Discovery Motion. Although the Trustee

understands that counsel for Etter is anxious to move forward for his client, the Trustee does not

believe there is an emergency and believes that it is more appropriate for all of the parties to be on



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the same timetable regarding the discovery in this Adversary. Indeed, the Trustee is working with

counsel for Etter, counsel for Furr, and counsel for the Committee on an informal basis to obtain

information. Hopefully, the parties will have an agreed upon protective order in place soon, which

will allow for the efficient sharing of information confidentially. The Trustee believes it would be

inappropriate to allow one party to move forward with formal discovery, even in a limited capacity,

because it will create more issues/expense and will not address any emergency even if an

emergency did in fact exist.

                        BASIS FOR EXPEDITED CONSIDERATION

       20.     Emergency consideration of this Motion is appropriate considering (i) the Limited

Discovery Motion will be heard at the Hearing; (ii) the Rule 16 Conference is set for July 23, 2025;

and (iii) the Trustee is acting diligently to address main case issues as well as analyze the issues in

this Adversary but needs additional time before any Rule 16 Conference.           Absent emergency

consideration, the estates will continue to incur additional unnecessary administrative expenses.

                                              PRAYER

       WHEREFORE, the Trustee respectfully requests that the Court enter an order, substantially

in the form submitted herewith: (i) granting the relief requested in this Motion; and (ii) granting

the Trustee such other and further relief as the Court may deem just and proper.

Dated: June 23, 2025                           Respectfully submitted,

                                               HOWLEY LAW PLLC

                                               /s/ Eric Terry
                                               Eric Terry - State Bar No. 00794729
                                               HOWLEY LAW PLLC
                                               700 Louisiana Street Suite 4545
                                               Houston, Texas 77002
                                               Phone: 713-333-9125
                                               Email: eric@howley-law.com

                                               Proposed Trustee Counsel
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                                CERTIFICATE OF SERVICE

        I certify that on June 23, 2025, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                              /s/ Eric Terry
                                             Eric Terry

                               CERTIFICATE OF ACCURACY

        I certify that the foregoing statements are true and accurate to the best of my knowledge.
This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                              /s/ Eric Terry
                                             Eric Terry




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